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               EXHIBIT B
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    Swiss Rules of
    International Arbitration
    (Swiss Rules)




    2021
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     3. Article 20(2) shall apply mutatis mutandis to a counterclaim and a set-
       off defence.



       AMENDMENTS TO THE CLAIM OR DEFENCE
       Article 22
       During the course of the arbitration proceedings, a party may amend or
       supplement its claim or defence, unless the arbitral tribunal considers
       it inappropriate to allow such amendment having regard to the delay in
       making it, the prejudice to the other parties, or any other circumstances.



       OBJECTIONS TO THE JURISDICTION OF THE ARBITRAL TRIBUNAL
       Article 23
       1. The arbitral tribunal shall have the power to rule on any objections to
       its jurisdiction, including regarding the existence, validity or scope of the
       Arbitration Agreement, and on any objections that claims made under
       more than one Arbitration Agreement should not be determined together.

       2. The arbitral tribunal shall have the power to determine the existence or
       the validity of the Contract of which an Arbitration Agreement forms part.
       A decision by the arbitral tribunal that the Contract is null and void shall not
       automatically entail the invalidity of the Arbitration Agreement.

       3. Any objection to the jurisdiction of the arbitral tribunal shall be raised
       prior to any defence on the merits, unless the arbitral tribunal allows a later
       objection in exceptional circumstances.

       4. The arbitral tribunal shall rule on any objection to its jurisdiction as a
       preliminary question, unless it appears more appropriate to rule on such
       objection in an award on the merits.

       5. The arbitral tribunal shall have jurisdiction to hear a set-off defence
       even if the relationship out of which the defence is said to arise does not
       fall within the scope of the Arbitration Agreement, or falls within the scope
       of another Arbitration Agreement or forum selection clause.



       FURTHER WRITTEN SUBMISSIONS
       Article 24
       The arbitral tribunal shall decide, after consulting with the parties, which
       further written submissions, if any, in addition to the Statement of Claim
       and the Statement of Defence, shall be submitted by the parties and shall
       set the time limits for such written submissions.



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